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UNI'I`ED STATES DISTRIf`m ~nrmrr
FOR THE NORTHERN DISTRI

 

 

 

150v1904
JUDGE SHAH
",;_ MA .
§M\ we A» PflT L L_ G JUDGE MASON
COM i> l 6 \ N )H\IT
CIVIL ACTION
(Name of the plaintiff or plaintiffs)
v NO.

rl>/+'rmd< R. $&NHHOC-
PosTM)tS'TEz GrEr\/ML

R@st>o et o t:~N‘T, AGFL=NCV
(Name of the defendan{ or defendants)

\./\/\/\./\/VV\/V\/\/\/\/VV

mon/tee o .
cLERK, u.s. ots`tg

COMPLAINT OF El\/IPLOYMENT DISCRIMINATION

_ RUTON
Rf€? couRr

1. This is an aetion for employment disonmination.

2. The plaintiff is §lv\ l 'Tft A» 'P&T El'_ ofthe

county of C C> Ok in the state of l L l,

3. The defendant is U N \ `T ED §W+TE£ oP `POST¢H_ gtz-@\/(¢C- , whose

street address is C/(> C\"Y€M’ (,a,lé»€£ A~t/Q_a- ,
(oity)f@/_omm_t"ng@(eonnty) ?. (state) l l (zlP) éQ ( l jZ ' 30/0 //j@"”/

(Defendant’s telephone number) ( 9 )

 

4. The plaintiff sought employment or Was employed by the defendant at (street address)

\SOO E NO\CL'\'H \/JC/ST Htet\~\ wA\/ (City) PALA»V;M[:-

 

(county) 610 0 |/( (state) l L l/ (ZIP code) 6003 5

 

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5. The plaintiff [check one box]

(a)|j was denied employment by the defendant.
(b)- was hired and is still employed by the defendant.

(C)E was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) l`_'i H> _\’[ , (day)£ ij 3(2 , (year) g O[l. .

7.1 (Choose paragraph 7.1 or 7.2. do not complete both.)

(a) The defendant is not a federal governmental agency, and the plaint`

   
 

One box] L__l has|j,t filed a charge or ch s against the defendant
has

/
asserting the acts of discrimination indicated in this thh any of the following

government agencies:

  
   
 

(i) |:| the United States Equ mployment Opportunity Commission, on or about

(month) (day) (year)

(ii) |:| the lllino' epartment of Human Rights, on or about

(month) (day) (year)

 

(b) lf charges w e filed with an agency indicated above, a copy of the charge is

 

attached. YES. |:] NO, but plaintiff Will file a copy of the charge within 14 days.

lt is the licy of both the Equal Employment Opportunity Commission and the lllinois
Dep ment of Human Rights to cross-file with the other agency all charges received. The

aintiff has no reason to believe that this policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

defendant asserting the acts of discrimination indicated in this court complaint

 

 

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e- ,~H»t
l:| Yes (month)>lru (L y (day) to at“(yeai) 69 0(3~
ij No, did not file Complaint of Employment Discrimination

(b) The plaintiff received a Final Agency Decision on (month) NOVC'I"\ B EQ~
(day) l q (year) SLOlL)l , .
(c) Attached is a copy of the

(i) Complaint of Employment Discrimination,

|::| YES HNO, but a copy will be filed within 14 days.
(ii) Final Agency Decision

|:| YES " g NO, but a copy will be filed within 14 days.

(Complete paragraph 8 only if defendant is not a federal governmental agency.)

the United States Equal Employment Opportunity Commission has not issued

(a)

 
 
 
 
   
  
 

of Right to Sue.

(b)[J the United States al Employment Opportunity Commission has issued a

Notz`ce of Right to Sue, which
(month) (day)

Notice is attached to this complaint

s received by the plaintiff on

(year) a copy of which

The defendant discriminated against the plaintiff because of the plaintiff’ s [check only
those that apply]:

(a)® Age (Age Discrimination Employment Act).

(b)@ Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

 

10.

11.

12.

 

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(c)® Disability (Americans with Disabilities Act or Rehabilitation Act)

(d)- National Origin (Title VH of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(e)|Z| Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(i)§l Reiigion (ritie vii or the Civil Rights Aet of19o4)

(g)@ Sex (Title VII of the Civil Rights Act of 1964)

If the defendant is a state, county, municipal (city, town or village) or other local

governmental agency, plaintiff further alleges discrimination on the basis of race, color,

or national origin (42 U.S.C. § 1983).

Jurisdiction over the statutory violation alleged is conferred as follows: for Title Vll
claims by 28 U.S.C.§133 l, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); for
42 U.S.C.§1981 and §1983 by 42 U.S.C.§l988; for the A.D.E.A. by 42 U.S.C.§12117;
for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply]

<a)l:|
<b)|:l
<c)|:|

failed to hire the plaintiff

terminated the plaintiffs employment

failed to promote the plaintiff

failed to reasonably accommodate the plaintiff’s religion.
failed to reasonably accommodate the plaintiff s disabilities
failed to stop harassment;

retaliated against the plaintiff because the plaintiff did something to assert
rights protected by the laws identified in paragraphs 9 and 10 above;

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citizen re ortic~n.t gdpeavtsoas twa enter manner En/’W y t
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13. The facts supporting the plaintiff s claim of discrimination are as follows:
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H%peevtsoe$ MM)
PoLtce'S/, Bu§se Httg{useig$ed<ways ofL T/&icyd{er CSUP
/H>H` LAW» /H~(' OTHE'£ QLA/&fN/S’ A»LL"' E_x~PL/H/\/ /t\J my QMG FILF*
ile olime Supervt"ga~r ga @/,.ap(ov€e fo hewitt/1633 P(UJ
l\CWL l»'& Ol\i-u,i“d'v i`€$’i` Hs`o th/U ali ,Q(~¢ amame ria/wadin

Pu’(“¥ °%'9 'S OL\_LM 01 413 garciach Rvj£"l %ho/MW
,Sn.“£fl§i' S;o°`;,e. s Sjoeaaa traceth fifth tacoma W£M»»)»n

14. [A GE DISCRIMINA TI()N ONLY] Defendant knowingly, intentionally, and willfully C/l\@c,(§;£ 4
discriminated against the plaintiff

15. The plaintiff demands that the case be tried by a jury. g YES [| NO

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply]

(a)|:| Direct the defendant to hire the plaintiff

(b) m Direct the defendant to re-employ the plaintiff
(c)E| Direct the defendant to promote the plaintiff

(d).@/ Direct the defendant to reasonably accommodate the plaintiffs religion.

(e)g Direct the defendant to reasonably accommodate the plaintiff s disabilities
wm \{ P/t/ q
(f)|:| Direct the defendant to (specify): {W l fill Q)°_[Da/rt,£»& geo/vt
t a e£
tm\Ut. oaeW/, let ego tf t ante LMYM,WM W‘Q€

QP Taj

 

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(g)‘g If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable
attorney fees and expert witness fees.

(h)|:| Grant such other relief as the Court may find appropriate

(Piaintifrs KW
\/ /‘

(Plaintiff’ s name)
§t\/\\Tta t>e PPFTEZ'l/

(Plaintiff s street address)

5707 CAM@OU LANE

Ho H>t»’\ew estates ,, /LL wmata/576

(City) FF/??HN FS T#TB§state) /Ll, (er) Ge/¢]»Z fL/$ 7Z
(Plaintiffs telephone numbe§,%}g/»M) §LIL/ ' 00 7? (C`€/d ?LU' 3 77'04/4/3

Date: O?’ ;ZLJ’ 010/§

 

 

 

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Office of.Federal Operations
P.O. Box 77960
Washington, DC 20013

Smita A. Patel,
vComplainant,

V.

PatrickR. Donahoe,
Postmaster General,
United States Postal Service
(Great Lakes Area),
Agency.

Appeal No. 0120132455

Agency No.» 11-_602-"0035-12 `

Pursuant to 29 C.F.R. § 1614.405, the Commissionv. accepts Complainant’s appeal from the
Agency’s May 6, 2013, final decision concerning her equal employment opportunity (EEO)
complaint alleging employment discrimination in violation of Title VII of the Civil Rights Act
of 1964 (Title VII), as amended, 42 U.S.C. § 2000e et seq., Section 501 of the Rehabilitation
Act of 1973 (Rehabilitation Act), as amended, 29 U.S.C. § 791 et seq., and the Age
Discrirnination in Employment Act of 1967 (ADEA), as amended, 29 U.S.C. § 621 et seq.
For the following reasons, the Agency’s final decision (FAD) which found that Complainant
failed to show that she was subjected to discrimination is AFFIRMED.

BACKGROUND

At the time of events giving rise to this complaint Complainant worked as a Supervisor, EAS -
17, Distribution Operations, at the Agency’s Palatine P & DC facility in Palatine, Illinois. The
record revealed that upon Complainant’s return from a seven month absence for an on-the-.job
injury she was not returned to her Saturday/Sunday off days that she held for years. Instead,
Complainant was assigned Tuesday/Wednesday as her off days. Complainant maintained that
younger employees were allowed to have the days off that they requested. Complainant also
indicated that she was retaliated against because she was told that there were no
Saturday/Sunday or Sunday/Monday days off in Automation or anywhere else in the building.
Complainant also asked that she be allowed her preferred days as an accommodation
Complainant’s work restrictions indicated that she could not climb stairs, kneel or squat and
she was to have frequent breaks while standing and/or walking Complainant also indicated

 

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that she had filed an EEO complaint a year before the case at hand and felt that this is why she
was not given the days that she requested

Additionally, Complainant argued that once on June 23, 2012, she had been required to
perform the duties of three to four supervisors On.October 13, 2012, Complainant filed a
formal complaint alleging that the Agency discriminated against her on the bases of national
origin (East Indian), sex (female), religion (Hindu), color (Brown), disability (both legs), age
(53), and reprisal when: on May 24, 2012, she was not given Sat/Sun or Sun/Mon as

scheduled days off when she returned from an on~the-job injury and, she had to do the work of
three to four supervisors

Following an investigation by the Agency, Complainant failed to request either a hearing or a
FAD so a FAD was issued. The FAD found that management articulated legitimate,
nondiscriminatory reasons for its actions, and Complainant failed to demonstrate that the
reasons were pretext for discrimination Specifically, management explained that Complainant -
was out for an extended period of time and in her absence other supervisors were placed into
the Saturday/Sunday and Sunday/Monday days off schedule. Management indicated that EAS
employees could have their days off changed at any time due to the needs of the service.
Management indicated that contrary to Complainant’s contention otherwise similarly situated
employees not of her protective bases were not treated more favorably as assignments were
made based on the needs of the service and by the time Complainant returned from her absence
other employees had been placed in the days that she desired-. Also, it was noted that the
comparators offered by lComplainant were not similarly situated to her as (1) they were
bargaining unit employees, (2) they were other supervisors who did not work the desired days
that Complainant wanted, and/or (3) they worked in different units

Management also argued that Complainant was not subjected to retaliation as she failed to
show a causal connection between the instant case and her prior EEO activity that occurred
more than a year earlier. Also,v with regard to the bases of age, management found that
Complainant did not establish nor did the investigation reveal any evidence that showed that
age was a determining factor in any of management’s decisions Further, it was noted that
Complainant’s restrictions did not include the need for her desired days off. Accordingly,
management asserted that Complainant was assigned Tuesday/Wednesday off due to the needs
of the operation -

With respect to Complainant’s assertion that she had to do the work of three to four
supervisors, management explained that two supervisor are scheduled for Automation and that
on'the day in question the other supervisor called in sick leaving Complainant to watch the
unit Management indicated that many supervisors have been required to till-in for absent
supervisors and Complainant was in no way treated differently than anyone else. The FAD
found that Complainant failed to show that management’s legitimate, nondiscriminatory
reasons were pretext for discrimination

 

 

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After a review of the record in its entirety, including consideration of all statements submitted
on appeal, it is the decision of the Equal Employment Opportunity Commission to AFFIRM
the Agency’s final decision We find that even if we assume arguendo that Complainant
established a prima facie case of discrimination as to all bases, the Agency articulated
legitimate, nondiscriminatory reasons for its actions as was discussed above and Complainant
failed to show that the reasons were pretext for discrimination or that discriminatory animus
was considered with regard to her not being given her desired days off or her having to fill in
for a sick supervisor on June 23, 2012. With regard to Complainant’s indication that she was
also denied a reasonable accommodation we note the Agency’S uncontested assertion that her
medical restrictions did not set forth a need for the specific off days that she sought On
appeal, Complainant did not submit a brief and the Agency stands by the arguments set out in
its FAD. Accordingly, we find that the preponderance of the evidence of record does not
establish that discrimination occurred.

starns/iner port nionrs - on APPEAL
RECONSIDER;ATION (MO61'0)`

 

The Commission may, in its discretion reconsider the decision in this case if the Complainant

or the Agency submits a written request containing arguments or evidence which tend to
establish that:

l. The appellate decision involved a clearly erroneous interpretation of material
fact or law; or
2. The appellate decision will have a substantial impact on the policies, practices,

or operations of the Agency.

Requests to reconsider, with supporting statement or brief, must be filed with the Off'ice of
Federal Operations (OFO) within thirty (30) calendar days of receipt of this decision or Within
twenty (20) calendar days of receipt of another party’s timely request for reconsideration §e__e
29 C.F.R. § 1614.405; Equal Employment Opportunity Management Directive for 29 C.F.R.
Part 1614 (EEO MD-llO), at 9-18 (November 9, 1999). All requests and arguments must be
submitted to the Director, Office of Federal Operations, Equal Employment Opportunity
Commission, P.O. Box 77960, Washington, DC 20013. In the absence of a legible postmark,
the request to reconsider shall be deemed timely filed if it is received by mail within five days
of the expiration of the applicable filing period. §§ 29 C.F.R. § 1614.604. The request or
opposition must also include proof of service on the other party.

Failure to file within the time period will result in dismissal of your request for reconsideration
as untirnely, unless extenuating circumstances prevented the timely filing of the request Any
supporting documentation must be submitted with your request for reconsideration The
Commission will consider requests for reconsideration filed after the deadline only in very
limited circumstances. §e_e_ 29 C.F.R. § 1614.604(¢).

 

 

 

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4 01 201 3245 5
COMPLAINANT’S RIGHT TO FILE A CIV;IL ACTION (50610)

You have the right to file a civil action in an appropriate United States District Court within
ninety (90) calendar days from the date that-you receive this decision If you file a civil
action, you must name as the defendant in the complaint the person who is the official Agency
head or department head, identifying that person by his or her full name and Official title.
Failure to do so may result in the dismissal of your case in court. “Agency” or “department”
means the national organization and not the local office, facility or department in which you
work. If you file a request to reconsider and also tile a civil action, filing a civil action Will
terminate the administrative processing of your complaint '

RIGHT TO REQUEST COUNSEL (20610)

If you decide to file a civil action, and if you do not have or cannot afford the services of an
attorney, you may request from the Court that the Court appoint an attorney to represent you
and that the Court also permit you to file the action without payment of fees, costs, or other
security. §§e Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et
seq.; the Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 791, 794(c). The grant or
denial of the request is within the sole discretion of the Court. Filing a request for an attorney
with the Court does not extend your time in which to file a civil action Both the request and
the civil action must be filed within'the time'lir_nits as stated in the paragraph above (“Right to
File a Civil Action”).

FOR THE COMMISSION:

flaw

Carlton M. Hadden,' Director '
Office of Federal Operations

  

 

N!!y I 4 ZUM
~Date

 

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_CERTIFICATE OF MAILING

For timeliness purposes, the Commission Will presume that this decision was received within
five (5) calendar days after it was mailed. I certify that this decision was mailed to the
following recipients on the date below:

Smita A. Patel
5707 Caribou Ln
Hoffman Estates, IL 60192

U.S. Postal Service (Great Lakes).
NEEOISG - Appeals

U.S. Postal Service

PO Box 21979

Tampa, FL 33622-1979

'N[l‘\/ 1 4 2914

Date

%M}ann

Compliance and Coéj tro Division

